   Case 1:17-cv-00873-LJV-HBS Document 27 Filed 02/25/19 Page 1 of 1




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
__________________________________________

LEE HARRIS, on behalf of herself and
all others similarly situated
                                   Plaintiff,

               v.                                   Civil Action No. 1:17-cv-873

OUTSOURCE RECEIVABLES MANAGEMENT,
INC. and JOHN DOES 1-25.
                              Defendants.
__________________________________________

                               NOTICE OF SETTLEMENT

       Plaintiff, Lee Harris, (“Plaintiff”), and Defendant Outsource Receivables

Management, Inc. (“Outsource”), by and through their attorneys, respectively, hereby

notify the Court that the above-entitled action has been settled. Both parties have agreed

to the settlement of this matter and documents are currently being exchanged between the

parties. A Stipulation of Discontinuance will be filed with the Court upon the execution

of the settlement documents.

DATED: February 22, 2019                            DATED: February 22, 2019

/s/: Joseph K. Jones                                /s/: Glenn M. Fjermedal
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